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AO 88A (Rev. 12/13) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

Federal Rule of Civil Procedure 45 (c), (d), (¢), and (g) (Effective 12/1/13)

{ce} Place of Compliance.

() For a Trial, Hearing, or Deposition. A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(0) is a party or a party's officer: or
(ii) is commanded to attend a trial and would not incur substantial
expense.

Q) For Other Discovery. A subpoena may command:

{A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person, and

(B) inspection of premises at the premises to be inspected.

(d) Protecting a Person Subject to a Subpoena; Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions. A patty or attorney
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—which may include
lost earings and reasonable attorney's fees—-on a party or atlorney who
fails to comply.

(2) Command to Produce Materials or Permit Inspection.

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition.
hearing, or trial.

(B) Objections. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made.
the following rules apply:

(i) Al any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party’s officer from
significant expense resulting from compliance.

GQ) Quashing or Modifying a Subpoena.

(A) When Required. On timely motion, the court for the district where
compliance is required must quash or modify a subpoena that:

(}) fails to allow a reasonable time to comply:

Gi) requires a person to comply beyond the geographical limits
specified in Rule 45(c),

(ii) requires disclosure of privileged or other protected matter. if no
exception or waiver applies: or

(4y) subjects a person to undue burden.

(B) When Permitted To protect a person subject to or affected by a

subpoena, the court for the district where compliance is required may. on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research. development.
or commercial information: or

(i) disclosing an unretained expert's opinion or information that does
not describe specific oceurrences in dispute and results from the expert's
study that was not requested by 4 party.

(C) Specifying Conditions as an Aliernutrve. tn the circumstances
described in Rule 45(¢3)(B), the court may. instead of quashing er
modifying a subpoena, order appearance or production under specitied
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship. and
(ii) ensures that the subpoenaed person will be reasonably compensated.

(¢) Duties in Responding to a Subpoena.

(1) Producing Documents or Electronically Stored information. These
procedures apply to producing documents or electronically stored
information:

(A) Documents. A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand.

(B) Form for Producing Electronically Stored Information Not Specified.
Ifa subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form of forms in
which it is ordinarily maintained or in a reasonably usable form or forms.

(C) Electronically Stored Information Produced m Only One Form Vhe
person responding need not produce the same electronically stored
information in more than one form.

(D) fnaccessible Mlectranicalty Stored [nfarmation The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discesery or fora protecting
order. the person responding must show that the information is not
reasonably accessible because of undue burden or cost. Hf that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause. considering the limitations of Rule
26(b)(2)(C). The court may specify conditions for the discovery

(2) Claiming Privilege or Protection.

(A) /nformation Withheld. A person withholding subpoenaed information
under a claim that il is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim: and

(il) describe the nature of the withheld documents, communications. or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) infermation Produced. if information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has, must not use or disclose the information
until the claim is resolved: must take reasonable steps to retrieve the
information if the party disclosed it before being notified: and may prompily
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information anti the clam is
resolved.

(2) Contempt.

‘The court for the district where comphance is required and alse. atier a
motion is transferred, the issuing court may hold in centempt a persen
who. having been served. fails without adequatc excuse fis obey the
subpoena or an order related to if

For access to subpoena materials, see Fed R Civ P 44fa) Committee Note (20133
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Dated: March 12, 2015
